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                     UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA


 HONEYWELL INTERNATIONAL                             No. 8:21-mc-00157-CEH-AAS
 INC.,
                                                     Original Proceeding:
        Plaintiff,                                   Honeywell International Inc. v.
                                                     North     American     Refractories
 v.                                                  Company Asbestos Personal Injury
                                                     Settlement Trust, Adv. Proc. No. 21-
 NARCO ASBESTOS PERSONAL                             2097 (Bankr. W.D. Pa.)
 INJURY SETTLEMENT TRUST,

        Defendant.


 HONEYWELL INTERNATIONAL INC.’S COMBINED MOTIONS TO
     COMPEL, TRANSFER, OR EXPEDITE AND OMNIBUS
MEMORANDUM OF LAW IN SUPPORT THEREOF AND OPPOSITION
         TO VINSON LAW’S MOTION TO QUASH

       Honeywell International Inc. (“Honeywell”) moves as follows: (A) pursuant

to Rule 45(g) and Rule 37(a)(1) of the Federal Rules of Civil Procedure to compel

compliance with the “Subpoena” (Ex. 1) 1 issued to Vinson Law, P.A. (“Vinson”)

from the United States Bankruptcy Court for the Western District of Pennsylvania

in connection with Honeywell International Inc. v. North American Refractories

Company Asbestos Personal Injury Settlement Trust, Adv. Proc. No. 21-2097

(Bankr. W.D. Pa.) (the “2021 NARCO Litigation”); (B) pursuant to Rule 45(f) to

transfer its Motion to Compel and Vinson’s Objection to and Motion to Quash

Subpoena and Objection to Transfer (Dkt. 1, “Motion to Quash”) to Bankruptcy


1 References to numbered exhibits refer to exhibits to the Declaration of Guyon H. Knight (“Knight

Decl.”), filed concurrently herewith. References to lettered exhibits refer to exhibits to the
Declaration of Yelena Bekker (“Bekker Decl.”), filed concurrently herewith.
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Judge Thomas P. Agresti in the United States Bankruptcy Court for the Western

District of Pennsylvania, who is presiding over the 2021 NARCO Litigation; and

(C) to expedite the discovery from Vinson.

      In opposition to Vinson’s Motion to Quash, and in support of its motions

above, Honeywell submits this omnibus memorandum of law.

                        PRELIMINARY STATEMENT
      Honeywell’s Subpoena seeks documents directly relevant to its claims

against the NARCO Trust (the “Trust”) in the 2021 NARCO Litigation. Vinson’s

Motion to Quash does not make any substantive challenge to the relevance of the

Subpoena. Rather, Vinson points this Court to a pending motion that the Trust

made in the case before Judge Agresti, which seeks a protective order to block the

subpoenas Honeywell served on relevance grounds. That this Subpoena is already

before Judge Agresti on the Trust’s Motion is one of the bases for asking this Court

to transfer Honeywell’s Motion to Compel to Judge Agresti as well, as he is best

situated to determine and then weigh the relevance of the subpoenaed documents

against the alleged burden of production by Vinson. Should this Court decide to

retain this matter, it should reject the three arguments Vinson advances in support

of its Motion to Quash, as Vinson simply misstates the law and the facts.

      First, Vinson argues that confidentiality obligations prevent it from

complying with a lawful subpoena. But the ethical rule Vinson invokes applies only

“in situations other than those where evidence is sought from the lawyer through

compulsion of law.” Fla. R. Prof’l Conduct 4-1.6, cmt. (emphases added). As a


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result, “[w]hen under compulsion of a subpoena, the lawyer acts ethically by

complying with the subpoena as to any information sought that is not privileged.”

Fla. Bar Ethics Op. 10-3, 2011 WL 6842635, at *3 (Feb. 1, 2011) (emphasis added)

(cited by Mem. at 5). Vinson also says that it “believes that it is possible that some

of the documents requested by the Subpoena may be subject to confidentiality

requirements imposed by the asbestos trusts to which it assisted its clients in

submitting claims.” Mem. at 8 (emphases added). Even if the Court credits this

possibility, Vinson never explains why it cannot produce its own documents simply

because it previously submitted those same documents to another trust.

       Second, Vinson argues that the Subpoena is unduly burdensome because it

would require 262.5 hours to collect and produce responsive documents. Vinson

notably does not support this argument with sworn declarations, and the Court

should reject it for this reason alone. Honeywell has offered numerous ways to

reduce any burden on Vinson—Vinson simply refused to accept these offers before

filing this Motion. In any event, this burden is hardly “undue” under the

circumstances. Vinson has collected millions of dollars from the Trust and Vinson’s

receipt of payment from the Trust in connection with its submission of form

affidavits is what prompted this Subpoena. Vinson is not a mere stranger to the

2021 NARCO Litigation. It is a direct beneficiary of the payments based on form

affidavits that are one of the central issues that will be litigated at the May 2022

trial in this action.

       Third, Vinson is simply wrong in claiming that Honeywell already has the

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documents that its Subpoena seeks. Neither Honeywell nor the Trust have the

exposure submissions that Vinson claimants submitted to other asbestos trusts.

Additionally, neither have the exposure submissions Vinson’s clients made in the

tort system generally. Vinson argues (in an unsworn statement) that only 24 of the

200 claimants identified in the Subpoena have litigation, and that 18 of those have

sued Honeywell concerning their alleged exposure to a different product. 2 Mem. at

10-11. Honeywell does not have access to litigation materials for other cases those

two claimants may have brought, and Honeywell can only obtain these documents

through a subpoena.

       Honeywell is entitled to the discovery is seeks through the Subpoena. The

Court should therefore transfer these Motions to the Bankruptcy Court for the

Western District of Pennsylvania so the judge presiding over the 2021 NARCO

Litigation can consider them with a motion for a protective order that has already

been filed and is set for argument on December 13. In the alternative, the Court

should Vinson’s Motion to Quash and grant Honeywell’s Motion to Compel.

                                   BACKGROUND
       1.     The North American Refractories Company (“NARCO”) Asbestos

Personal Injury Settlement Trust was created some years ago as part of the court-

approved NARCO plan of reorganization to pay claims of those injured by NARCO

asbestos-containing products. Ex. 2 (“Compl.”) ¶ 2. The Trust is only permitted to



2 Honeywell’s records show that to be inaccurate: just two of the named claimants has sued

Honeywell. Bekker Decl. ¶ 10.

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pay claims, however, if they are supported by “competent” and “credible” evidence

that the claimants were exposed to asbestos products manufactured by NARCO.

Id. ¶ 62. Honeywell—which was “effectively [] the parent of NARCO” from 1979 to

1986—has a unique and continuing interest in ensuring that the Trust follows these

directives—Honeywell funds the Trust on an evergreen basis. Id. ¶¶ 2, 41.

Honeywell filed the 2021 NARCO Litigation to protect this interest and to stop the

Trust from paying millions of dollars of claims to Vinson and other firms based on

“form” affidavits that are not “competent” or “credible” evidence. Id. ¶¶ 1, 214-22.

      2.    In the last two years, the Trust has paid Vinson’s clients $2.1 million—

making Vinson the seventh-largest recipient of payments from the Trust over that

time period. Declaration of Yelena Bekker (“Bekker Decl.”) ¶¶ 4-5. Vinson has

received these payments in reliance on form affidavits that the firm submitted on

behalf of hundreds of claimants claiming exposure to asbestos-containing

products manufactured by NARCO. A form affidavit uses the same formulaic,

boilerplate language to describe multiple claimants’ exposures—and recollections

of that exposure—to NARCO’s asbestos-containing products. Id. ¶ 89.

      3.    Exhibits A, B, and C are examples of form affidavits that Vinson

submitted to the Trust on behalf of three separate claimants who worked in three

separate industries at job sites located in three separate states. These claimants

had nothing in common apart from the fact that Vinson represented them. One

worked as an electrician in the utilities industry in Santa Barbara, California. Ex.

A, ¶ 3. The other worked in maintenance at a telephone company in Fort Worth,

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Texas. Ex. B, ¶ 3. And, the third worked as a plumber and laborer at a military base

in Montgomery, Alabama. Ex. C, ¶ 3. Yet, despite these differences, each of these

claimants signed an affidavit, under oath, which used identical language to

describe identical exposures to the very same NARCO asbestos-containing product

and identical recollections of those exposures.

      4.     Specifically, each signed the same form affidavit, stating: “We knew

this insulating cement was NARCO Stazon because we called it that. We knew it

contained asbestos because we referred to it as asbestos.” Ex. A, ¶ 4; Ex. B, ¶ 4; Ex.

C, ¶ 4. Their form affidavits go on to attest, also identically, to the same job

responsibility and method of exposure (despite their differing occupations in

different industries) :

      In order to assemble, install, repair and/or maintain the systems and
      structures such as panels, we had to cut off the asbestos-containing NARCO
      Stazon insulating cement. To reapply it, we poured it in a bucket and mixed
      it with water. These processes made asbestos dust go airborne. When we
      swept up after this work, asbestos dust went airborne as well. (Ex. A, ¶ 6;
      Ex. B, ¶ 6; Ex. C, ¶ 6.)

      5.     The Complaint alleges that form affidavits such as these are not

“credible” or “competent” evidence of exposure to a NARCO asbestos-containing

product. Compl. ¶¶ 89-95, 100-06. As the Complaint alleges, it is not credible that

hundreds (and in some cases thousands) of claimants represented by the same law

firm—working at different sites, in different jobs, in different industries, and in

different time periods—were exposed to NARCO asbestos-containing products in

the precisely the same manner and all had the very same recollection of that



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exposure (from as much as fifty years ago) as their form affidavits claim 3 Id. ¶ 90.

       6.      The 2021 NARCO Litigation is the second litigation against the Trust

that Honeywell has brought addressed to the Trust’s policy of paying claimants

who rely on form affidavits. In 2015, Honeywell sought a preliminary injunction

against the Trust before the same Judge that is presiding over the current

litigation. Honeywell sought to enjoin, among other things, the Trust’s payment on

form affidavits. Id. ¶ 95. After some encouragement from Judge Agresti, the Trust

“voluntary[ily] agree[d] to stop accepting … ‘form’ affidavits as sufficient to

support a claim.” In re NARCO, 542 B.R. 350, 356 (Bankr. W.D. Pa. 2015). Several

months later, the Trust published directives to its claims processor memorializing

the new prohibition and stating that form affidavits present “competence and/or

credibility concerns.” Compl. ¶ 108. The Trust’s general counsel later

acknowledged in writing that the concern with form affidavits is that clients

“blindly will sign” them even if they do not have the recollection that the boilerplate

exposure language attributes to them. Id. ¶ 104.

       7.      Honeywell was forced to initiate the pending litigation—the 2021

NARCO Litigation—in part because the Trust reversed its form policy: it reverted

to allowing form affidavits. Id. ¶ 113. One of the largest beneficiaries of this

stunning reversal has been Vinson, whose claimants were paid over $2.1 million in

the last two years alone based on the very same type of form affidavits that the


3 The Complaint also alleges that the Trust inappropriate relies on “check-the-box” affidavits (e.g.,

Compl. ¶¶ 96-111), but despite Vinson’s suggestions (Mem. at 6, 10, 12), the Subpoena to Vinson
is limited to claimants who have submitted form affidavits. Bekker Decl. ¶ 9.

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Trust previously would not credit as credible or competent. Bekker Decl. ¶ 4. The

Trust made this policy reversal despite Honeywell’s having produced evidence to

the Trust—from an asbestos litigation relating to “Bendix” brake products in which

Honeywell is a defendant—showing that many NARCO claimants filed sworn

statements in that litigation where they failed to claim any exposure to NARCO

asbestos-containing products despite being asked for all other asbestos exposures

and despite these claimants’ listing other asbestos manufacturers and other brand

names. Compl. ¶¶ 118, 141-50. The submission of inaccurate exposure evidence like

this is, according to the Department of Justice, a problem being faced in the tort

and asbestos trust system generally. See Press Release, Dep’t of Justice, Justice

Department Files Statement of Interest Urging Transparency in the Compensation

of Asbestos Claims (Dec. 28, 2020) (“‘In recent years, numerous courts and

commentators have recognized that many asbestos claims are based on inaccurate

or even fraudulent information …. That lack of transparency in the compensation

of asbestos claims has been a significant problem.’”) (emphasis added), available

at https://tinyurl.com/DOJAsbestos.

      8.    Honeywell’s new Complaint asks the Court to “declare that form

affidavits” violate the Trust’s governing documents, and to “enjoin the Trust from

accepting them as credible and competent evidence of exposure,” in part based on

evidence that Honeywell unearthed showing numerous instances where form

affidavits submitted to the Trust were contradicted by other exposure claims the

same claimants made in other venues. Compl. ¶ 222. The evidence sought by this

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Subpoena seeks to further develop this evidence to help prove that form affidavits

are not credible or reliable. Evidence of inconsistent exposure allegations made to

other trusts or to other adversaries in the tort system will obviously undermine the

credibility of Vinson’s one-size-fits-all form affidavits.

      9.     The Subpoena does not seek other tort and trust filings of all Vinson

claimants, or even all of those that were paid by the Trust. Rather, the Subpoena

seeks this information for a representative subset of 200 Vinson claimants whom

the Trust paid based on their form affidavits. Ex. 1 at Sched. C.

      10.    Even though the subset of 200 claimants requested by the Subpoena

represents only a portion of the claims Vinson has submitted to the Trust,

Honeywell has offered to limit the Subpoena to just 65 claimants, which is a two-

thirds reduction of the number of claimants covered by the Subpoena. See Bekker

Decl. ¶ 3; Knight Decl. ¶ 5.

      11.    The Subpoena also seeks the documents that Vinson provided to the

Trust’s auditor, whom the Trust has indicated will testify at trial, presumably to

defend its audits of firms like Vinson. Honeywell needs to obtain the documents

that Vinson has given to the auditor to cross-examine the auditor. Under Trust

policies, those documents are not retained by the Trust or its auditor but are

instead returned to the audited firm. NARCO Trust Claims Audit Program, ¶ IV,

available at https://tinyurl.com/NARCOAudit.

      12.    The Subpoena that was served on Vinson and is the subject of this

Motion is similar to eleven other subpoenas that Honeywell recently served on

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eleven other law firms that have submitted form affidavits to the Trust to support

claimed exposure to NARCO asbestos-containing product.

      13.   In response to those Subpoenas, the Trust made a Motion before

Judge Agresti for a Protective Order to quash all of the subpoenas, including this

one, on the grounds that the subpoenaed documents are not relevant. To avoid

inconsistent rulings and because of Judge Agresti’s long history with the two

related Honeywell litigations, Honeywell also brings a Motion pursuant to Rule

45(f) to Transfer this Motion to Compel to Judge Agresti. Honeywell respectfully

requests that this Court consider both this Motion to Compel and the Motion to

Transfer on an expedited basis because the deadline to exchange expert reports in

this case is February 9, 2021 and Honeywell will need time to process and review

the documents to be produced by Vinson.

      WHEREFORE, Honeywell respectfully requests that this Court grant

Honeywell’s Motion to Expedite and enter an Order transferring Honeywell’s

Motion to Compel and Vinson’s Motion to Quash to Judge Agresti in the United

States Bankruptcy Court for the Western District of Pennsylvania; in the

alternative, Honeywell respectfully requests that this Court grant Honeywell’s

Motion to Compel and deny Vinson’s Motion to Quash.

                         MEMORANDUM OF LAW
I.    LEGAL STANDARD
      A.    Motion To Compel & Motion To Quash
      “The scope of discovery under a subpoena issued pursuant to Rule 45 is the



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same as the scope of discovery under Rule 26.” 4 Rodgers v. Herbalife Int’l of Am.,

Inc., 2020 WL 263667, at *1 (M.D. Fla. Jan. 17, 2020). Under Rule 26, “[p]arties

may obtain discovery regarding any nonprivileged matter that is relevant to any

party’s claim or defense and proportional to the needs of the case….” Fed. R. Civ.

P. 26(b)(1). “Relevance in the context of discovery has been construed broadly to

encompass any matter that bears on, or that reasonably could lead to other matter

that could bear on, any issue that is or may be in the case.” Akridge v. Alfa Mut.

Ins. Co., 1 F.4th 1271, 1276 (11th Cir. 2021) (internal quotation marks omitted).

       “The party seeking to quash a subpoena bears the burden of establishing at

least one of the requirements articulated under Rule 45(d)(3),” which includes

subjecting the subpoenaed “person to undue burden.” Malibu Media, LLC v. Doe,

2015 WL 574274, at *3 (M.D. Fla. Feb. 11, 2015); Fed. R. Civ. P. 45(d)(3)(A) (iv).

“With regard to the burden imposed on non-parties in responding to discovery

requests, courts consider the following factors: relevance, the requesting party’s

need for the documents, the breadth of the document request, and the time period

covered by the request.” Am. Airlines, Inc. v. In Charge Mktg., Inc., 2012 WL

2116349, at *2 (M.D. Fla. June 11, 2012) (internal quotation marks and citation

omitted). “Claims of undue burden should be supported by a statement (generally

an affidavit) with specific information demonstrating how the request is overly

burdensome.” Strike 3 Holdings, LLC v. Doe, 2019 WL 13064729, at *2 (M.D. Fla.


4 Although the Subpoena was issued in a bankruptcy adversary proceeding, Rules 26 and 45 still

govern its scope and enforcement. See Fed. R. Bankr. P. 7026 (making Rule 26 applicable in
adversary proceedings); Fed. R. Bankr. P. 9016 (making Rule 45 applicable in bankruptcy cases).

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Oct. 31, 2019) (internal quotation marks and citation omitted).

       B.      Motion To Transfer
       Rule 45 allows a court to transfer motions to enforce a subpoena to the court

that issued the subpoena “if the court finds exceptional circumstances.” Fed. R.

Civ. P. 45(f). To determine if exceptional circumstances exist, courts consider

factors such as the “complexity, procedural posture, duration of pendency, and the

nature of the issues pending before, or already resolved by, the issuing court in the

underlying litigation.” In re Subpoena Upon NeJame Law, P.A., 2016 WL

1599831, at *6 (M.D. Fla. Apr. 21, 2016) (citing Judicial Watch, Inc. v. Valle Del

Sol, Inc., 307 F.R.D. 30, 34 (D.D.C. 2014)). These factors ultimately go to three key

issues: “(1) whether the underlying litigation will be disrupted if the subpoena

dispute is not transferred; (2) whether the nonparty subpoena recipient will suffer

undue burden or cost if the subpoena dispute is transferred; and (3) whether … the

issuing court is in the best position to rule on the motion to compel.” In re Braden,

344 F. Supp. 3d 83, 90 (D.D.C. 2018); see also Royal Crest Dairy, Inc. v. Cont’l

Western Ins. Co., 2020 WL 8996580, at *2 (M.D. Fla. May 19, 2020) (granting

transfer in part because issuing court “better positioned to make decisions on

relevancy” and transfer will “help avoid inconsistent rulings”). Transfer is

appropriate where “such interests outweigh the interests of the nonparty served

with the subpoena in obtaining local resolution of the motion.” Royal Crest, 2020

WL 8996580, at *1 (quoting Fed. R. Civ. P. 45, adv. comm. notes). 5


5 A magistrate judge has “full authority” to grant a motion to transfer, which “is a non-dispositive



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II.    THE REQUESTED DOCUMENTS ARE RELEVANT AND UNAVAILABLE TO
       HONEYWELL
       A.      Subpoena Requests 1 and 2
       These Requests seek specific documents that certain identified Vinson

claimants submitted to other trusts or exchanged with their adversaries in

litigation. Courts around the country have repeatedly held that this kind of

information is a proper subject of discovery. See, e.g., Sheppard v. Liberty Mut.

Ins. Co., 2017 WL 3184 70, at *3 (E.D. La. Jan. 23, 2017) (denying motion to quash

subpoena in part and holding that “all documents that [claimant] submitted to

[asbestos] bankruptcy trusts, including claim forms, supporting documentation,

and supplemental information are discoverable”); Willis v. Buffalo Pumps, Inc.,

2014 WL 2458247, at *1 (S.D. Cal. June 2, 2014) (denying motion to quash

subpoena that sought individual claimant’s data); Nat’l Union Fire Ins. Co. of

Pittsburgh Pa. v Porter, 2012 WL 628493, at *3 (D. Md. Feb. 24, 2012) (same).

       So too here, the documents sought by these Requests are directly relevant to

Honeywell’s claims in the 2021 NARCO Litigation. These Requests seek

documents to help demonstrate the lack of credibility of Vinson’s form affidavits

and to support Honeywell’s claim that the Trust should not pay Vinson claimants

relying on form affidavits. The Complaint squarely addresses the credibility of

form affidavits submitted by firms like Vinson and discusses at length Honeywell’s

findings that many form affidavits are contradicted by exposure allegations made



matter.” Hoog v. PetroQuest, LLC, 338 F.R.D. 515, 517 (S.D. Fla. 2021) (internal quotation marks
omitted); see also, e.g., In re Early, 2021 WL 2636020, at *1 n.1 (N.D. Ga. Apr. 20, 2021) (same).

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by the same claimants (using the same firms) in other venues. Compl. ¶¶ 92-95,

144-49. The identical boilerplate exposure claims being made in the form exposure

affidavits submitted to the NARCO Trust are inherently suspect.

      Obtaining further proof of Vinson’s unreliable form affidavits is clearly

“relevant to [Honeywell’s] claim” in Count 1 of the Complaint, which seeks a

declaration and injunction that form affidavits submitted by Vinson and other

firms are not credible or competent. Fed. R. Civ. P. 26(b)(1); see Compl. ¶ 222; see

also id., Prayer for Relief ¶ 2. The subpoenaed documents thus easily satisfy the

“broadly” “construed” standard of relevance that applies to a discovery request.

Akridge, 1 F.4th at 1276 (internal quotation marks omitted).

      B.    Subpoena Request 3
      Request 3 seeks information that was submitted to the Trust’s auditor, who

the Trust has indicated will testify at trial, presumably to defend its audits of

Vinson and other firms and its findings. Ex. 1 at Sched A. Honeywell needs these

documents from Vinson (as opposed to the auditor) because the auditor returned

to Vinson the documents it received from it, per Trust audit procedures that

provide for the auditor to return the documents (without retaining a copy) to the

audited firm on the completion of the audit. See NARCO Trust Claims Audit

Program, ¶ IV, available at https://tinyurl.com/NARCOAudit.

      C.    Honeywell Can Only Obtain The Documents Via Subpoena
      In addition to being relevant, Honeywell does not have access to the

documents sought by the Subpoena. Request 2 is limited to documents that Vinson



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has submitted to other asbestos trusts, not the NARCO Trust. Ex. 1 at Sched. A, ¶

2. 6 As a result, these documents are not in the possession of any party to the 2021

NARCO Litigation, and Honeywell can only obtain them through a third-party

subpoena. Request 1 is limited to documents exchanged in tort litigation, and

Honeywell does not know what litigation Vinson may have commenced for its

clients. Vinson argues (in an unsworn statement) that only 24 of the clients

identified in the Subpoena have litigation, and 18 of those have sued Honeywell.

Mem. at 10-11. Honeywell’s own records show that it may have records from

litigation involving Bendix for a maximum of just two out of the 200 claimants

identified in the Subpoena. Bekker Decl. ¶ 10. And, even for those two claims,

Honeywell does not have access to litigation materials for other cases these two

claimants may have brought, and Honeywell can only obtain these documents

through a subpoena. Finally, as mentioned above, Honeywell does not have access

to the documents that Vinson gave to Mazars (sought by Request 3), as those were

required to be returned to Vinson under the relevant audit procedures. NARCO

Trust Claims Audit Program, ¶ IV, available at https://tinyurl.com/NARCOAudit.

III.   VINSON’S CONFIDENTIALITY ARGUMENTS LACK MERIT
       Rather than challenge the Subpoena on relevance grounds, Vinson’s lead

argument is that the Subpoena should be quashed because it seeks confidential



6 Vinson complains that it was unaware the Subpoena does not seek documents submitted to the

Trust. Mem. at 10. But the Subpoena plainly requests documents submitted to “any Settlement
Trust,” while using a separate defined term to refer to the Trust. Ex. 1 at Sched. A, ¶ 2 & Sched. B,
¶¶ 10-11. If Vinson had questions about the scope of the Subpoena, it easily could have resolved
them by responding to the repeated communications from Honeywell’s counsel. Knight Decl. ¶ 2.

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documents. Vinson is wrong.

       First, Vinson argues that its ethical obligations under Rule 4-1.6 of the

Florida Rules of Professional Conduct prevent it from complying with the

Subpoena. But Rule 4-1.6, by its own terms, does not apply to documents sought

via subpoena. This Rule generally proscribes lawyers from voluntarily disclosing

“information relating to [the] representation of a client … unless the client gives

informed consent.” Fla. R. Prof’l Conduct 4-1.6(a). The official Comment to this

Rule clarifies that it applies only “in situations other than those where evidence is

sought from the lawyer through compulsion of law.” Id., cmt. (emphases added).

In other words, Rule 4-1.6 does not apply when evidence is sought in court-

sanctioned discovery. Indeed, Vinson’s own authorities make clear that “[w]hen

under compulsion of a subpoena, the lawyer acts ethically by complying with the

subpoena as to any information sought that is not privileged.” 7 Fla. Bar Ethics Op.

10-3, 2011 WL 6842635, at *3 (Feb. 1, 2011) (emphasis added) (cited by Mem. at

5). That is why courts have repeatedly rejected objections based on Rule 4-1.6

where the information is sought in discovery. See Vasallo v. Bean, 208 So. 3d 188,

189 (Fla. Dist. Ct. App. 2016) (rejecting argument that lawyer should not answer

questions at deposition based on Rule 4-1.6); see also Smith v. Powder Mountain,

LLC, 2009 WL 10698489, at *8-9 (S.D. Fla. Nov. 9, 2009) (compelling attorneys

to answer interrogatories and collecting cases). This Court should likewise reject



7 Nothing the Subpoena seeks is privileged because it is limited to documents that have already

been exchanged with third parties.

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Vinson’s attempt to escape compliance with the Subpoena based on Rule 4-1.6.

      Second, Vinson speculates that “it is possible that some of the documents

requested by the Subpoena may be subject to confidentiality requirements

imposed by the asbestos trusts to which it assisted its clients in submitting claims.”

Mem. at 8 (emphases added). Vinson fails to identify a single confidentiality

requirement that actually applies to any of the documents Honeywell seeks,

rendering this argument moot. Vinson’s reliance on the unpublished case In re

Bestwall LLC, 2021 WL 2209884 (D. Del. June 1, 2021), appeal pending, No. 21-

2263 (3d Cir.), does not salvage this hypothetical. There, Bestwall, a debtor in a

pending Chapter 11 bankruptcy, issued a subpoena to a claims processing facility

seeking claimant documents—not to the claimants or their law firms themselves,

as here. Specifically, the debtor sought “electronically stored data concerning any

of Bestwall’s roughly 15,000 settled mesothelioma claimants who also filed a claim

against” another asbestos trust that used the claims processor that had been

subpoenaed. Id. at *2 (emphasis added). Several trusts moved to quash the

subpoena based on “court-approved confidentiality provisions of the TDPs” of

those trusts. Id. at *3. The court noted that the information sought was already

subject to confidentiality procedures, which another judge in the district had

implemented in response to a previous motion that also addressed documents of

those trusts. See id. at *6-7. Because the subsequent subpoena did not incorporate

those protections, the court quashed the subpoena “without prejudice to Bestwall’s

right to seek reissuance of the subpoenas … consistent with the protections

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afforded by the Bankruptcy Court’s” earlier decision. Id. at *7 (emphasis added).

       Here, unlike Bestwall, the Subpoena was issued to the claimants’ law firm

seeking claimants’ own documents, which the law firm filed on their behalf. The

Subpoena was not issued to some third-party claims processor, who received the

documents from the claimants pursuant to some confidentiality provision with the

claimant. Producing one’s own documents in response to a subpoena does not

trigger the same confidentiality concerns that could be triggered when a third party

is asked to produce them. And, as explained above, a law firm is permitted to

produce its clients’ non-privileged documents in response to a subpoena.

       Even if this Court were inclined to impose confidentiality provisions sua

sponte similar to those in Bestwall, they are not necessary here. Judge Agresti has

entered a protective order that will govern the production of documents in

response to the Subpoena. Honeywell v. NARCO Trust, Adv. Proc. No. 21-2097,

Dkt. 123, § 4.1 (Bankr. W.D. Pa. Nov. 18, 2021). 8 The protective order does not

permit Honeywell to use the information sought by the Subpoena outside the

context of the 2021 NARCO Litigation, and requires that the material be destroyed

when the action concludes. Id. § 4.1. The protective order also includes an

“attorneys’ eyes only” provision to give heightened protection to particularly

sensitive documents. Id. § 1.2. Thus, unlike Bestwall, here the Subpoena

incorporates the protections of the protective order in place. Vinson’s concerns

about privacy are thus adequately addressed and no additional confidentiality


8 See Adv. Proc. No. 21-2097, Dkt. 143 (Bankr. W.D. Pa. Dec. 2, 2021) (entering protective order).



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provisions are required. See Aatrix Software, Inc. v. Green Shades Software, Inc.,

2018 WL 11268486, at *4 (M.D. Fla. Aug. 2, 2018) (granting motion to compel in

part because privacy concerns over customer identifying information would be

“alleviated” by the Amended Protective Order agreed to by the parties).

IV.   THE SUBPOENA DOES NOT PLACE AN UNDUE BURDEN ON VINSON
      Beyond its baseless confidentiality objections, Vinson also does not carry its

burden to show that producing these materials would be unduly burdensome. See

Gov’t. Emps. Ins. Co. v. Merced, 2021 WL 2291325, at *2 (M.D. Fla. June 4, 2021).

Vinson barely contests the “relevance [and] the requesting party’s need for the

documents,” and as shown above, their relevance and Honeywell’s need is clear.

Am. Airlines, 2012 WL 2116349, at *2 (internal quotation marks omitted). Vinson’s

single burden argument focuses on the costs associated with responding to the

Subpoena in the time requested, but Vinson’s argument fails.

      Vinson claims the Subpoena is unduly burden because responding to the

Subpoena will require 262.5 hours of work by its lead paralegal. Mem. at 10-11.

These statements can be disregarded out-of-hand because a “counsel’s unsworn

allegations do not provide a basis from which [a] Court can find that the documents

requested places an undue burden” on the subpoena recipient. Wilson v. Jackson

Nat’l Life Ins. Co., 2017 WL 10402565, at *3 (M.D. Fla. June 26, 2017); see also

Breland v. Levada EF Five, LLC, 2015 WL 12995098, at *6 (S.D. Ala. Apr. 30,

2015) (“Miller has not submitted any affidavits and, as a consequence, this Court

has no basis to find that producing the documents … will be particularly time


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consuming or costly….”). But even if credited, these statements do not establish an

undue burden.

      Honeywell’s Subpoena is not directed at all Vinson claimants, or even to all

Vinson claimants that were paid by the Trust. It is directed to a representative

subset of Vinson claimants that were paid by the Trust. Moreover, the Requests are

not overly broad and do not seek any and all documents provided to any asbestos

trust—they are targeted to “allegations of exposure” submitted to asbestos trusts

(which are typically a few pages each). Ex. 1 at Sched. A. Nor do they seek entire

litigation files, privileged documents, or medical records. Rather, they seek the

complaints, depositions, interrogatory responses, and affidavits claimants

provided to their adversaries in the litigations. Id.

      Despite the fact that the Subpoena as written is targeted, Honeywell

proposed limiting its scope—first to 100 claimants and then to 65, which

Honeywell believes is the minimum number that would still constitute a sufficient

sample of Vinson claimants. Knight Decl. ¶ 5. These limitations would reduce

Vinson’s time to comply with the Subpoena (using its own unsworn calculations)

to 85.3 hours, which roughly translates to two out of Vinson’s five paralegals

working for one week. 9 If Vinson had adequately met-and-conferred, Honeywell

could have reduced this burden even more by limiting the types of documents that

would be responsive to the Subpoena, as Honeywell has done with other



9 Vinson’s website lists five paralegals on staff. See https://vinsonlawoffice.com/staff/ &
https://vinsonlawoffice.com/supervisors/ (both last visited December 6, 2021).

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subpoenaed firms. Id. ¶ 4. Honeywell has also offered to extend Vinson’s time to

produce responsive documents until the end of December, which is in line with

similar offers Honeywell has made to other firms it has subpoenaed. Id. ¶ 5. Given

that Vinson has recovered more than $3.7 million from the Trust—a figure that

does not include other recoveries Vinson has obtained for these clients from other

trusts—a single week’s work by two paralegals does not present an undue burden.

      Vinson also argues that “[t]he subpoenaed party need only show compliance

would substantially disrupt its normal business operations” to prevail on its

motion to quash. Mem. at 10 (citing Goodyear Tire & Rubber Co. v. Kirk’s Tire &

Auto Servicenter of Haverstraw, Inc., 211 F.R.D. 658, 663 (D. Kan. 2003)). But

the case Vinson cites says nothing that supports this proposition, and the court

there largely denied the motion to quash it was considering—exactly what this

Court should do here. See Goodyear, 211 F.R.D. at 664-65.

      Vinson has not cited a single case suggesting that an entity that has collected

millions of dollars from a party, and whose conduct is directly at issue in the

underlying complaint, can avoid compliance with a subpoena because it would take

a week to respond. That is not the law, and the Court should reject Vinson’s

unsupported burden objections.

V.    THE MOTIONS TO COMPEL AND QUASH SHOULD BE TRANSFERRED
      While this Court can itself grant Honeywell’s Motion to Compel and deny

Vinson’s Motion to Quash, Honeywell respectfully submits that Judge Agresti in

the bankruptcy court is much better situated to rule on these Motions and to do so


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in an expedited fashion. Absent a transfer, there is a serious risk of conflicting

rulings concerning the relevance of the documents sought by the Subpoena—from

this Court and from the federal court in Washington, DC, before which Honeywell

has moved to compel a second firm’s subpoena (and from which Honeywell has

similarly requested a transfer). Knight Decl. ¶ 6. The Trust has already filed a

motion for a protective order before Judge Agresti, in which it challenges the

relevance of Honeywell’s Subpoena to Vinson, as well as more than a dozen

effectively identical subpoenas Honeywell has issued to other large filers of claims.

Dkt. 1-2. Judge Agresti has already set a hearing on the Trust’s motion for

December 13. See Honeywell v. NARCO, Adv. Proc. No. 21-2097, Dkt. 128 (Bankr.

W.D. Pa. Nov. 23, 2021). The “potential for inconsistent rulings should be avoided

and weighs in favor of a single judicial officer deciding all of these disputes.” Wultz

v. Bank of China, Ltd., 304 F.R.D. 38, 46 (D.D.C. 2014); see also, e.g., Royal Crest

Dairy, Inc., 2020 WL 8996580, at *2 (transfer will “help avoid inconsistent

rulings”); Galloway v. Martorello, 2019 WL 763590, at *2 n.1 (M.D. Fla. Feb. 21,

2019) (granting transfer as subpoenas in multiple district courts had already

resulted in inconsistent rulings). Judge Agresti should have the opportunity to rule

on Honeywell’s Motion to Compel, just as he is already ruling on the Trust’s motion

for a protective order to avoid different courts reaching different conclusions on

the relevance of the same documents. And, because relevance is a factor in

determining “undue burden,” that issue should be decided by Judge Agresti too.

      Furthermore, Judge Agresti’s long history overseeing this dispute puts him

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in the best position to decide the issues raised by Honeywell’s Motion. Judge

Agresti presided over the 2015 evidentiary hearing, where he observed that the

Trust is “unique, or at least highly unusual, among asbestos-related trusts.” In re

NARCO, 542 B.R. at 353. The documents sought by the Subpoena relate directly to

issues that were the subject of the 2015 evidentiary hearing, and will be at issue in

the May 2022 hearing in this action. Disputes that are “fact intensive and specific

… [r]equire considerable discovery … [and t]hese complexities and commonalities

make resolution of these cases by a single court preferable to litigation in multiple

courts.” NeJame Law, P.A., 2016 WL 1599831, at *6. The sheer size, complexity,

and unique nature of the NARCO bankruptcy and 2021 NARCO Litigation thus

weigh decisively in favor of transfer. See Duck v. S.E.C., 317 F.R.D. 321, 325 (D.D.C,

2016) (granting motion to transfer “in light of the complex nature of the underlying

action[] and the significant involvement” of the issuing court “in the action to date”

that has been pending for four years).

      The 2021 NARCO Litigation is also likely to be disrupted if Honeywell’s

Motion is not transferred. Judge Agresti has set an expedited schedule for this

litigation, with discovery closing on March 7, 2022, and trial beginning on May 23,

2022. See Honeywell v. NARCO Trust, Adv. Proc. No. 21-2097, Dkt. 119 at 3-5

(Bankr. W.D. Pa. Nov. 5, 2021). The documents sought by the Subpoena are

particularly relevant for Honeywell’s expert reports, which must be served on

February 9, 2022. Id. at 3. Time is short, and “the Issuing Court is more than able

to act swiftly to insure that discovery attendant to the litigation pending there is

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managed in a way that comports with the deadlines already established by the

Issuing Court.” In re Caesars Ent. Operating Co., 558 B.R. 156, 159 (W.D. Pa.

2016); see also In re K.M.A. Sunbelt Trading Co., 2017 WL 2559790, at *1-2 (M.D.

Fla. June 13, 2017) (granting motions to transfer and compel in part because of

“impending deadlines as well as the trial schedule”).

      In contrast, Vinson will not suffer prejudice from the Motion being heard by

Judge Agresti. “Transferring a motion to the jurisdiction where the underlying

litigation is pending that will require few, if any, modifications of the written

submissions, does not rise to the level of unfair prejudice.” Wultz, 304 F.R.D. at

45. Even if there is argument on Honeywell’s Motion to Compel, Judge Agresti has

a standing policy to allow attorneys and parties to appear by telephone or Zoom at

all non-evidentiary hearings. 10 Vinson will not need to retain new counsel as its

attorneys in this district “may file papers and appear on the motion as an officer of

the issuing court.” Fed. R. Civ. P. 45(f). Procedures such as these were specifically

contemplated to “participate without great burden” from other states. In re K.M.A.

Sunbelt, 2017 WL 2559790, at *2 (granting motion to transfer and compel based

in part on ability to participate in hearings by telephone).

VI.   THE COURT SHOULD EXPEDITE VINSON’S PRODUCTION
      Finally, if Honeywell’s Motion to Transfer is not granted, this Court should

expedite the production of documents by Vinson. The Bankruptcy Court for the



10See Updated Notice of Temporary Modification of Appearance Procedures Before Judge
Thomas P. Agresti, available at https://tinyurl.com/AgApp.

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Western District of Pennsylvania has set a highly expedited schedule for discovery,

dispositive motions, and trial. Under that schedule, expert reports are due to be

exchanged by February 9, 2022. In order for Honeywell’s expert to make use of the

Requested Documents, those documents must be produced by (at the latest)

December 29, 2021—six weeks before the expert report deadline.

      District courts have “broad discretion over the management of pre-trial

activities, including discovery and scheduling.” Johnson v. Bd. of Regents of Univ.

of Ga., 263 F.3d 1234, 1269 (11th Cir. 2001). As explained above, the law firm will

suffer no undue burden if it is ordered to produce the Requested Documents and

Honeywell will be severely prejudiced if it is forced to litigate the 2021 NARCO

Litigation without the Requested Documents. It is therefore with good cause that

Honeywell asks the Court to expedite the law firm’s production of documents.

                                 CONCLUSION
      Honeywell respectfully requests that the Court grant Honeywell’s Motions

to Expedite and Transfer; alternatively, Honeywell respectfully requests that the

Court grant Honeywell’s Motion to Compel and deny Vinson’s Motion to Quash.

                      CERTIFICATE OF CONFERENCE
      Pursuant to Rule 37(a)(1) and Local Rule 3.01(G), the undersigned counsel

for Honeywell, certifies that he has in good faith conferred with counsel for Vinson

via telephone on November 22 and December 6, 2021 in an effort to resolve this

dispute without court action. The parties have been unable to reach a resolution.

                                          /s/ Guyon Knight
                                          Guyon H. Knight, Esq.

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Dated: Tampa, FL
       December 6, 2021               /s/ Eric J. Partlow
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